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JAN M. BENNETTS
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Attorney for Ada County Prosecuting Attorney Jan M. Bennetts


                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 PENGUIN RANDOM HOUSE LLC, et al.,
                                                      Case No. 1:25-cv-00061-AKB
                       Plaintiffs,
                                                      ADA COUNTY PROSECUTING
 v.                                                   ATTORNEY JAN M. BENNETTS’
                                                      RESPONSE TO ORDER TO SHOW
 RAÚL LABRADOR, in his official                       CAUSE [DKT. 57]
 capacity as Attorney General for the State
 of Idaho, et al.,

                       Defendants.


       In response to the Court’s Order to Show Cause, dkt. 57, Ada County Prosecuting Attorney

Jan M. Bennetts indicates that she does not oppose a stay as described in that order.

       DATED this 25th day of June, 2025.

                                                     JAN M. BENNETTS
                                                     Ada County Prosecuting Attorney


                                              By:    /s/ Dayton P. Reed
                                                     Dayton P. Reed
                                                     Deputy Prosecuting Attorney


ADA COUNTY PROSECUTING ATTORNEY JAN M. BENNETTS’ RESPONSE TO ORDER
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 25th day of June, 2025, I served a true and correct copy
of the foregoing Ada County Prosecuting Attorney Jan M. Bennetts’ Response to Order to Show
Cause [dkt. 57] electronically through the CM/ECF system, which caused the following parties or
counsel to be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

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     AND I FURTHER CERTIFY that on such date I served the foregoing on the following non-
CM/ECF Registered Participants in the manner indicated as follows:

       N/A


                                              By:     /s/ Chyvonne Tiedemann
                                                      Legal Assistant




ADA COUNTY PROSECUTING ATTORNEY JAN M. BENNETTS’ RESPONSE TO ORDER
TO SHOW CAUSE [DKT. 57]– PAGE 2
